                      Case 2:25-cv-02171-JWB-TJJ Document 23                                             Filed 07/01/25               Page 1 of 2
                                            FILED
                                                               U.S. District Court
                                                               District of Kansas
U.S. Department of Justice                                                                                PROCESS RECEIPT AND RETURN
United States Marshals Service                              JUL O1 2025                                 See "Instructions for Service of Process bv U.S. 1'vfarshal"

 PLAINTIFF                                                                                                               COURT CASE NUMBER
                                                   Clerk, U ~ t Court
 Angeliina Lynn Lawson                             BY----=~- Deputy Clerk                                                 2:25-cv-02171-JWB-TJJ
 DEFENDANT                                                                                                               TYPE OF PROCESS
 KANSAS DEPT CHILDREN AND FAMILIES                                                                                        Civil Summons & Complaint
                            NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
        SERVE                KANSAS DEPT CHILDREN AND FAMILIES
           AT {             ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
                             120 SW 10TH AVE., 2ND FLOOR TOPEKA, KS 66612
 SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                                      Number of process to be
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 1 served with this Form 285                                                           1
 Angeliina Lynn Lawson
                                                                                                                         Number of parties to be
 1914 5th Avenue                                                                                                         served in this case                    6
 Leavenworth, KS 66048                                                                                                   Check for service
                                                                                                                         on U.S.A.
 SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):




 Signature of Attorney other Originator reql!esting service on behalfof:                                 TELEPHONE NUMBER                     DATE
                                                                               ~ PLAINTIFF
                                                                               0 DEFENDANT               913-972-1661                          4/16/2025
    s/N. Coop, Deputy Clerk for Angeliina Lynn Lawson
                        SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
 I acknowledge receipt for the total    Total Process    District of       District to   Signature of Authorized USMS Deputy or Clerk                    Date
 number of process indicated.                            Origin            Serve
                                        G, of(o
                                                                                         ~ ~ 1- /l<t l 25
 (Sign only for USM 285 if more
 than one USM 285 is submilled)                          No.   o.3l
                                                               ---
                                                                           No. 03 \
                                                                                ---
 I hereby certify and return that I D have personally served , D have legal evidence of service, D have executed as shown in "Remarks", the process described on the
 individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.
D I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
Name and title of individual served (if not shown above)                                                                 Date                 Time                  Dam
                                                                                                                                                                    D pm
 Address (complete only different than shown above)                                                                      Signature of U.S. Marshal or Deputy




                                                                   Costs shown on attac/ml USMS Cost Sheet>>
 REMARKS


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6/24/~,5 2: 1Q_ PM                                              USPS.com® - USPS Tracking® Results



                                                                                                                              FAQs)
    USPS Tracking®



                                                                                                                            Remove X
    Tracking Number:

    70223330000169445476
           Copy          Add to Informed Delivery (https://informeddelivery.usps.com/)




           Latest Update
           Your item was delivered to the front desk, reception area, or mail room at 10:36 am on April 29, 2025 in
           TOPEKA, KS 66612.



           Get More Out of USPS Tracking:
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                 USPS Tracking Plus®                                                                                               c..
                                                                                                                                   g
                                                                                                                                   C')


           Delivered                                                                                                               "
           Delivered, Front Desk/Reception/Mail Room
           TOPEKA, KS 66612
           April 29, 2025, 10:36 am

           See All Tracking History

       What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)



         Text & Email Updates                                                                                                  V


         USPS Tracking Plus®                                                                                                   V


         Product Information                                                                                                   V


                                                              See Less A

     Track Another Package


    I   Enter tracking or barcode numbers


https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tlc=3&text28777=&tlabels=70223330000169445476%2C%2C&IABt=false                1/2
